Case 2:18-cv-14091-KM-JBC Document 6-4 Filed 11/19/18 Page 1 of 3 PageID: 131




          EXHIBIT 1
EQUITY ALERT: Rosen Law Firm Files Securities Class Action Lawsui...             https://www.businesswire.com/news/home/20180920005891/en/EQUIT...
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                 EQUITY ALERT: Rosen Law Firm Files Securities Class Action
               Lawsuit Against Cocrystal Pharma, Inc. – COCP (formerly known as
                            BioZone Pharmaceuticals, Inc. - BZNE)
              September 20, 2018 04:21 PM Eastern Daylight Time

              NEW YORK--(BUSINESS WIRE)--Rosen Law Firm, a global investor rights law firm, announces it has filed a class action
              lawsuit on behalf of purchasers of the securities of Cocrystal Pharma, Inc. f/k/a/ BioZone Pharmaceuticals, Inc.
              (NASDAQ:COCP) and of Cocrystal’s predecessor, BioZone, from September 23, 2013 through September 7, 2018,
              inclusive (the “Class Period”). The lawsuit seeks to recover damages for Cocrystal investors under the federal securities
              laws.


              To join the Cocrystal class action, go to https://www.rosenlegal.com/cases-1415.html or call Phillip Kim, Esq. or Zachary
              Halper, Esq. toll-free at 866-767-3653 or email pkim@rosenlegal.com or zhalper@rosenlegal.com for information on the
              class action.


              NO CLASS HAS YET BEEN CERTIFIED IN THE ABOVE ACTION. UNTIL A CLASS IS CERTIFIED, YOU ARE NOT
              REPRESENTED BY COUNSEL UNLESS YOU RETAIN ONE. YOU MAY RETAIN COUNSEL OF YOUR CHOICE. YOU
              MAY ALSO REMAIN AN ABSENT CLASS MEMBER AND DO NOTHING AT THIS POINT. AN INVESTOR’S ABILITY TO
              SHARE IN ANY POTENTIAL FUTURE RECOVERY IS NOT DEPENDENT UPON SERVING AS LEAD PLAINTIFF.


              According to the lawsuit, defendants made false and/or misleading statements and/or failed to disclose that: (1)
              defendants were engaged in a pump-and-dump scheme to artificially inflate Cocrystal’s stock price; (2) this illicit scheme
              would result in governmental scrutiny, including from the SEC; (3) defendants failed to abide by SEC disclosure
              regulations; and (4) as a result, defendants’ statements about Cocrystal’s business, operations and prospects were
              materially false and misleading and/or lacked a reasonable basis at all relevant times. When the true details entered the
              market, the lawsuit claims that investors suffered damages.


              A class action lawsuit has already been filed. If you wish to serve as lead plaintiff, you must move the Court no later than
              November 19, 2018. A lead plaintiff is a representative party acting on behalf of other class members in directing the
              litigation. If you wish to join the litigation, go to https://www.rosenlegal.com/cases-1415.html or to discuss your rights or
              interests regarding this class action, please contact Phillip Kim or Zachary Halper of Rosen Law Firm toll free at
              866-767-3653 or via email at pkim@rosenlegal.com or zhalper@rosenlegal.com.


              Follow us for updates on LinkedIn: https://www.linkedin.com/company/the-rosen-law-firm or on Twitter: https://twitter.com
              /rosen_firm.


              Rosen Law Firm represents investors throughout the globe, concentrating its practice in securities class actions and
              shareholder derivative litigation. Rosen Law Firm was Ranked No. 1 by ISS Securities Class Action Services for number of

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